     Case 2:16-cv-02893-SRB Document 10 Filed 10/07/16 Page 1 of 2



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 4   floyd@bybeelaw.com
 5   Attorney for Plaintiff
 6
 7                        UNITED STATES DISTRICT COURT
 8                              DISTRICT OF ARIZONA
 9
                                          )
10   Theodora Wilson Orr,                 )          No. CV16-2893-PHX-SRB
                                          )
11                                        )
                                          )
12           Plaintiff,                   )
                                          )            NOTICE OF PENDING
13   v.                                   )              SETTLEMENT
                                          )
14   Zenco Collections LLC, et al.,       )
                                          )
15                                        )
                                          )
16           Defendants.                  )
                                          )
17                                        )
18           Plaintiff, by and through counsel, hereby gives notice that the parties have
19   reached a settlement of this action. Upon finalization of the terms of the
20   settlement, the parties will file the appropriate dismissal documents with the
21   court which is expected to be done within 30 days.
22   / / /
23   / / /
24
25
      Case 2:16-cv-02893-SRB Document 10 Filed 10/07/16 Page 2 of 2



 1
 2          RESPECTFULLY SUBMITTED: October 7, 2016 .
 3
 4                                      s/ Floyd W. Bybee
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10   Copy of the foregoing mailed
        September 13, 2016      to:
11
     Stephen G. McFayden
12   Zenco Collections LLC
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13   Richardson, TX 75081-2867
     Attorney for Defendant Zenco
14
     Federal Pacific Credit Company, LLC
15   c/o William R. Stratton
     140 W 2100 S #220
16   Salt Lake City, UT 84115
17   by s/ Floyd W. Bybee
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